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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-00035-RPM-BNB

  VICTORIA WELCH,

  Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

  Defendant.
  _____________________________________________________________________

                          NOTICE OF SETTLEMENT
  _____________________________________________________________________

          COME NOW the Plaintiff and Defendant by and through their counsel of record and

  for their Notice of Settlement, hereby state as follows:

          1.    The Plaintiff and Defendant have reached a settlement.

          2.    The Parties will be filing a Stipulation of Dismissal with Prejudice, with each

                party to pay its own attorney’s fees and costs, once the settlement

                documents have been executed by the parties and delivered to all counsel.

                The parties expect this to happen by February 12, 2010.

  Dated: February 1, 2010.

  s/ David M. Larson                             s/ Louis Leonard Galvis
  David M. Larson                                Louis Leonard Galvis
  Attorney at Law                                Sessions, Fishman, Nathan & Israel, LLC
  405 S. Cascade Avenue, Suite 305               645 Stonington Lane
  Colorado Springs, CO 80903                     Fort Collins, CO 80525
  Telephone: (719) 473-0006                      Telephone: (970) 223-4420
  Attorney for the Plaintiff                     Attorneys for the Defendant
